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VIA ECF

Honorable Joseph A. Marutollo
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: Watt v. City of New York, et al.
22-cv-6841(AMD)(JAM)

Your Honor:

In response to the Court’s Order to Show Cause, issued April 10, 2024, I make the
following responsive submission.

There is no one else responsible for the confidential settlement statement being sent to the
incorrect email address than the undersigned. I take full responsibility for inadvertently
addressing the email. This typo of NYSD v. NYED could be explained that we have
approximately forty civil matters involving New York City Correction Officers in the Southern
District while this is the only one in the Eastern District. Whatever the reason, it does not excuse
my mistake in missing this typographical error.

There was no intention of bad faith on my part to ignore the Court’s deadline to comply
with the extension of time granted to my client to file his settlement statement. Moreover, my
confusion as to why the Court had not received the email was two-fold: first, by the fact the
original email sent at 3:35PM was and has never been returned to me as undeliverable; second,
the email from the court at 9:07PM displays in my mailbox as

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NYED_ MarutolloChambers@nyed.uscourts.gov. Upon closer inspection it is very clear that the
email address contained in the Court’s Individual Practice and Rules was not used in my email
address to the Court at 3:35PM on April 10, 2024. I allowed an incorrect email to be sent.

Again this is not my client’s fault, or my paralegal’s fault who typed the settlement
statement for me, it is entirely my fault. After thirty plus years of practice, I learned today not to
cut and paste the email address from a letter, but to type in the email address myself.

I ask the Court to forgive my mistake here, accept my apology, and to not impose
sanctions upon me. My client is certainly not at fault for this mistake. I can assure the Court there
was no intentional contemptuous conduct on my part. I did not intentionally disobey this Court.
In the last line of the settlement statement, that I believed I was filing early, I thanked the Court
for granting me the extension. Moreover, I certainly did not want to give the Court any
impression that its prior Order of February 8, 2024, did not have an impact. It did have an
impact. Unfortunately, my failure to catch the typo in the letter was the sole reason the Court did
not receive my client’s settlement statement in accordance with the Court’s Order of April 9,
2024, for that I apologize to the Court and Counsel for any delay caused.

I thank the Court for its time and attention to this matter.

Respectfully submitted,
KARASYK & MOSCHELLA, LLP

john W. Buns
John W. Burns

To: All Counsel via ECF
